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   EXHIBIT 3
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Mark Jeffries

From:                              Mark Jeffries
Sent:                              Tuesday, July 10, 2018 2:55 PM
To:                                'Rick Juckniess'
Cc:                                Charles Crooks; Monte Williams; Todd Phillips
Subject:                           Bal lock Discovery Issues
Attachments:                       f4506.pdf


Rick,

Below are my notes from our phone call today, reflecting where we currently stand with our respective responses to the
other's discovery requests. For convenience, I have underlined the areas where I believe we still have disputes that we
are unable to reach agreement on.

STATE POLICE DEFENDANTS' REQUESTS TO PLAINTIFF
Interrogatories 2 and 4: These asked for the identities and contact information of all persons who Plaintiff believes to
have relevant knowledge and the identities and expected subjects of testimony of all witnesses reasonably expected to
be called at trial. Plaintiff will supplement his answers to provide additional contact information for those witnesses for
whom inadequate contact information was provided. The expected testimony of Kathie Giesleman was not provided on
the response we received, although you said it was contained in the version you were looking at. Regardless, Plaintiff
will supplement his answer to provide the expected testimony of Ms. Giesleman. SSAs Barrow and Ryan were identified
in response to Interrogatory No. 15, but not in response to Interrogatories 2 and 4, and consequently, no contact
information was provided for these individuals. It is your position that Mr. Ballock does not have contact information for
these two individuals beyond the central address/telephone number to the CJIS facility. Will you supplement Mr.
Bal lock's answer to reflect this position?

Interrogatory 9: This sought the identity of "every psychologist, psychiatrist, physician, cleric, or other person" with
whom Mr. Ballock has sought counseling or treatment concerning his psychological or emotional condition within the
last 10 years. No dates of treatment were provided beyond the years of treatment. You agreed that Plaintiff will attempt
to supplement with more precise dates. In addition, you objected to providing any information regarding any cleric with
whom Mr. Bal lock may have sought counseling or treatment related to the allegations described in the Third Amended
Complaint or even asking him if he ever sought such treatment. We remain at disagreement on this point.

Requests for Production 8-11: These sought executed medical, mental health, and psychotherapy releases so that we
may obtain records from the providers identified in the answers to Interrogatories 8-10. Although you still maintain that
going back to 1/1/08 is overly broad, you will agree to produce releases that will permit us to request records back to
that date. You wanted assurance that any records obtained will be subject to the protective order. We have agreed that
all records obtained through the releases will be subject to the protective order, and I suggested that you expressly state
in the supplemental response producing the releases that they are being provided with the understanding that all
records obtained with them are subject to the protective order. You wanted a limit on the scope of records obtained. I
explained that we cannot provide a description of the records sought, as we do not know what records are available.
Nevertheless, the records obtained will be limited by the providers identified in response to Interrogatories 8-10, which
all relate to mental/emotional treatment as a result of the incidents described in the Third Amended Complaint. We
agreed that either Mr. Ballock may make a pen and ink change to the releases provided, limiting the records produced
to 1/1/08 and later, or we will submit new releases with a temporal limitation. Please let me know which you prefer.

Request for Production 14: This request sought documents supporting the allegations that Trooper Berry was
conducting surveillance of Mr. Ballock, his parents, or both. Plaintiff's response was that he "will produce responsive


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documents," but I have seen no documents responsive to that request. You affirmed that Plaintiff has produced all
responsive documents he has.

Requests for Production 18 and 22: Both of these requests sought documents related to any adverse employment
actions Mr. Ballock suffered while at the FBI. Although Plaintiff's response was that he will produce responsive
documents, no documents related to his employment with the FBI were produced. You explained that Mr. Ballock was
not allowed to have copies of documents the FBI produced related to his discharge, but you believed that he did receive
written notification of his discharge. I emphasized that the request was broader than just his discharge, but included any
documents related to an investigation or the like. You agreed that you will double check with Mr. Ballock to see if there
were any responsive documents and will supplement his production if necessary.

Request for Production 16: This request sought Mr. Ballock's income tax returns from 2012 through 2017. Mr. Ballock
did not produce returns for 2012 and 2013 because he does not have copies. You agreed that he will provide a signed
release so that we may obtain those records directly from the IRS. I have attached IRS Form 4506, which will permit us
to obtain copies of Mr. Ballock's 2012 and 2013 returns. We will pay the costs of obtaining the returns. Please fill in
Steptoe & Johnson and our address on Line 5, and please check the box on line 9, so that if the IRS needs to refund the
check, the refund will go to us (I've had the IRS issue our refund check to the plaintiff before). We had a question
whether Ms. Costlow would need to sign the release, since the returns were joint returns. Per the instructions above the
signature block, only one spouse must sign the release to obtain a joint tax return.

Request for Production 30: This request sought documents related to Mr. Ballock's pay and benefits in his current
employment. Although information on his pay was produced, we received no information on the benefits he currently
has available. You agreed to determine what benefits are available( not just those benefits he received, but those that
are available, even if he elected not to participate) to Mr. Ballock and provide that information to me; we will then
refine our request to ask for any specific documents related to those benefits.

Request for Production 23: This request asked for documents reflecting any communications between either Plaintiff
and his father, Tom Bal lock, or between you or Charles and Tom Ballock related to the State Police Defendants or any
allegations in the Third Amended Complaint. You objected on grounds of vagueness and overbreadth, as well as
attorney-client privilege. I clarified that we are not seeking any communications between you or Charles and Plaintiff,
although the request would encompass communications between you or Charles and Plaintiff if Tom Ballock were
included. I also clarified that this request is not seeking communications-such as letters, e-mails, or text messages-
that mention any or all of my clients-Michael Kief, Ronnie Gaskins, and Chris Berry-or which relate to the allegations
in the Third Amended Complaint; it does not encompass all communications between Plaintiff and Tom Ballock, nor
does it encompass subjects that are only tangentially related to the issues in this case, such as househunting. Regarding
communications between Plaintiff and Tom Ballock, you stated that all responsive communications made before this
litigation were commenced have been produced, and there have been no responsive communications made after this
litigation has commenced. I ask that you supplement Plaintiff's response to reflect this position, as the response
currently only consists of an objection.

Regarding communications between you or Charles and Mr. Ballock, you stated that you will not produce any such
communications.



PLAINTIFF' S REQUESTS TO STATE POLICE DEFENDANTS

Request for Production 2 (sic) and 3 sought credit statements, canceled checks, and banks statements from Trooper
Berry. After I objected on the grounds of relevance and confidentiality, you agreed to limit the requests to those records
that reflected "any payments or deposits relating to Costlow." The State Police Defendants supplemented their
responses to indicate that there were no responsive documents. I clarified during our phone call that there were no
responsive documents because Trooper Berry's credit card statements and bank statements do not reflect any
payments or deposits relating to Ms. Costlow.

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Request for Production 6: This sought all emails between any defendants between 9/2012 and present. I objected on
overbreadth, undue burden, relevance, and proportionality, but nevertheless agreed to produce emails that were
reasonably related to the subject matter of this litigation. I also objected to producing emails between the State Police
Defendants and Ms. Costlow after the initial complaint in this civil action was filed, as such communications would be
prepared by parties in anticipation of litigation and excluded from discovery under Rule 26{b)(3). I did produce a
privilege log, however, reflecting such communications. You stil l maintain that this objection is not proper.

Request for Production 7: This sought my client's cell phone bills from 9/2012 through 9/2014. I objected on the grounds
of relevance, to which you responded that the documents sought were relevant because they would demonstrate
communications between Defendants. I responded that cell phone bills do not show such detail. I explained that all
three of the State Police Defendants have service through AT&T and provided a link to AT&T's website, which shows a
sample bill that does not contain detailed call information. I understand this dispute to be resolved.

Overall, you take issue with the number of emails produced by the State Police Defendants, the lack of emails from
personal email accounts, and the lack of any emails at all from Trooper Berry (you claimed that no emails from Trooper
Berry were produced; I am not certain of that without reviewing the file, but will accept your position for purposes of
resolving these discovery disputes). I explained that my clients have produced all responsive emails they have located
after a good faith search . I informed you that Trooper Gaskins found two additional emails, which will be subject to a
supplemental production soon . I explained that my clients did not use their personal email accounts to send emails
related to either the underlying Bal lock criminal investigation or this civil case. I also explained that if Trooper Berry did
not produce any emails, it was because he was not involved in the Ballock criminal investigation. Nevertheless, I will ask
him to make another search and I will produce any emails he finds, if any.



Finally, we discussed the issue of Plaintiffs request to the Monongalia Magistrate Court and Prosecuting Attorney's
Office for his expunged criminal file . Charles informed me via email on 4/10/18 that he was going to make the request
that day. But three months later, we still have not received the expunged documents, any information regarding the
status of the request, or even a cc: copy of any request . Yo u confirmed that Charles had made the request, but you were
not certain of the status of the request. CHARLES, can you provide an update on this question?

If I have omitted or misstated any aspect of our conversation, please let me know. I appreciate your cooperation in
resolving these issues.

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Bridgeport, WV 26330
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Form        4506                                            Request for Copy of Tax Return
(July 2017)                                    .,.. Do not sign this form unless all applicable lines have been completed.                      OMB No. 1545-0429
                                                       ... Request may be rejected if the form is incomplete or illegible.
Department of the Treasury
Internal Revenue Service                          ... For more information about Form 4506, visit www.irs.gov/form4506.

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4506-T, Request for Transcript of Tax Return, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on "Get a Tax Transcript..." or call 1-800-908-9946.

    1a Name shown on tax return . If a joint return, enter the name shown first.                        1b First social security number on tax return,
                                                                                                           individual taxpayer identification number, or
                                                                                                           employer identification number (see instructions)


    2a If a joint return, enter spouse's name shown on tax return.                                      2b Second social security number or individual
                                                                                                           taxpayer identification number if joint tax return


    3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)



    4 Previous address shown on the last return filed if different from line 3 (see instructions)



    5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party's name, address, and telephone number.



Caution: If the tax return is being mailed to a third party, ensure that you have filled in lines 6 and 7 before signing. Sign and date the form once you
have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your return
information, you can specify this limitation in your written agreement with the third party.
    6       Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
            schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
            destroyed by law . Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
            type of return, you must complete another Form 4506. .,.. - - - -- - - - - - - -- - - -
            Note: If the copies must be certified for court or administrative proceedings, check here .                                                           0
    7       Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
            eight years or periods, you must attach another Form 4506.




    8       Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
            be rejected. Make your check or money order payable to "United States Treasury." Enter your SSN, ITIN,
            or EIN and "Form 4506 request" on your check or money order.
        a   Cost for each return .                                                                                                      $
        b   Number of returns requested on line 7 .
        c   Total cost. Multiply line Ba by line Bb                                                                                     $
    9       If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here                     0
Caution: Do not sign this form unless all applicable lines have been completed .
Signature of taxpayer(s). I declare that I am either the taxpayer whose name fs shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.
D       Signatory attests that he/she has read the attestation clause and upon so reading
        declares that he/she has the authority to sign the Form 4506. See instructions.                                      Phone number of taxpayer on line
                                                                                                                             1aor2a


Sign           ~ Signature (see instructions)                                                    Date
Here
               ~ Title CTI line 1a above Is a corporation, partnership, estate, or trust)
               ~ Spouse's signature                                                              Date

For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                     Cat. No. 41721E                         Form   4506 (Rev. 7-2017)
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Form 4506 (Rev. 7-2017)                                                                                                                                             Page   2
Section references are to the Internal Revenue Code       Chart for all other returns                                 Corporations. Generally, Form 4506 can be
unless otherwise noted.                                                                                            signed by: (1) an officer having legal authority to bind
                                                          If you lived in                                          the corporation, (2) any person designated by the
Future Developments                                       or your business               Mail to:                  board of directors or other governing body, or (3)
                                                          was in:                                                  any officer or employee on written request by any
For the latest information about Form 4506 and its
                                                                                                                   principal officer and attested to by the secretary or
instructions, go to www.irs.gov/form4506.
                                                          Alabama, Alaska,                                         other officer. A bona fide shareholder of record
Information about any recent developments affecting
                                                          Arizona, Arkansas,                                       owning 1 percent or more of the outstanding stock
Form 4506, Form 4506-T and Form 4506T-EZ will be
                                                          California, Colorado,                                    of the corporation may submit a Form 4506 but must
posted on that page.
                                                          Florida, Hawaii, Idaho,                                  provide documentation to support the requester's
                                                                                                                   right to receive the information.
General Instructions                                      Iowa, Kansas, Louisiana,
                                                          Minnesota, Mississippi,                                    Partnerships. Generally, Form 4506 can be
Caution: Do not sign this form unless all applicable      Missouri, Montana,                                       signed by any person who was a member of the
lines have been completed.                                Nebraska, Nevada,                                        partnership during any part of the tax period
Purpose of form. Use Form 4506 to request a copy          New Mexico,                                              requested on line 7.
                                                                                        Internal Revenue Service
of your tax return. You can also designate (on line 5)    North Dakota,
                                                                                        RAIVS Team                    All others. See section 6103(e) if the taxpayer has
a third party to receive the tax return.                  Oklahoma, Oregon,
                                                                                        P.O. Box 9941              died, is insolvent, is a dissolved corporation, or if a
                                                          South Dakota, Texas,
How long will It take? It may take up to 75                                             Mail Stop 6734             trustee, guardian, executor, receiver, or
                                                          Utah, Washington,
calendar days for us to process your request.                                           Ogden, UT 84409            administrator is acting for the taxpayer.
                                                          Wyoming, a foreign
Tip. Use Form 4506-T, Request for Transcript of Tax       country, American                                        Note: If you are Heir at law, Next of kin, or
Return, to request tax return transcripts, tax account    Samoa, Puerto Rico,                                      Beneficiary you must be able to establish a material
Information, W-2 information, 1099 information,           Guam, the                                                Interest in the estate or trust.
verification of nonfiling, and records of account.        Commonwealth of the                                      Documentation. For entities other than individuals,
                                                          Northern Mariana                                         you must attach the authorization document. For
Automated transcript request. You can quickly
                                                          Islands, the U.S. Virgin                                 example, this could be the letter from the principal
request transcripts by using our automated self-help
                                                          Islands, or A.P.O. or                                    officer authorizing an employee of the corporation or
service tools. Please visit us at IRS.gov and click on
                                                          F.P.O. address                                           the letters testamentary authorizing an Individual to
"Get a Tax Transcript..." or call 1-800-908-9946.
                                                                                                                   act for an estate.
Where to file. Attach payment and mall Form 4506          Connecticut, Delaware,
to the address below for the state you lived In, or the   District of Columbia,                                    Signature by a representative. A representative
state your business was in, when that return was          Georgia, Illinois, Indiana,                              can sign Form 4506 for a taxpayer only if this
filed. There are two address charts: one for              Kentucky, Maine,                                         authority has been specifically delegated to the
individual returns (Form 1040 series) and one for all     Maryland,                                                representative on Form 2848, line 5. Form 2848
other returns.                                            Massachusetts,                Internal Revenue Service   showing the delegation must be attached to Form
                                                          Michigan, New                                            4506 .
   If you are requesting a return for more than one                                     RAIVS Team
year or period and the chart below shows two              Hampshire, New Jersey,        P.O. Box 145500
                                                          New York, North               Stop 2800 F                Privacy Act and Paperwork Reduction Act
different addresses, send your request to the
                                                          Carolina,                     Cincinnati, OH 45250       Notice. We ask for the information on this form to
address based on the address of your most recent
                                                          Ohio, Pennsylvania,                                      establish your right to gain access to the requested
return .
                                                          Rhode Island, South                                      return(s) under the Internal Revenue Code. We need
                                                          Carolina, Tennessee,                                     this information to properly identify the return(s) and
Chart for individual returns                                                                                       respond to your request. If you request a copy of a
                                                          Vermont, Virginia, West
(Form 1040 series)                                        Virginia, Wisconsin                                      tax return, sections 6103 and 6109 require you to
                                                                                                                   provide this information, including your SSN or EIN,
If you filed an
                                                                                                                   to process your request. If you do not provide this
individual return             Mail to:
and lived in:
                                                          Specific Instructions                                    information, we may not be able to process your
                                                                                                                   request. Providing false or fraudulent information
                                                          Line 1b. Enter your employer identification number       may subject you to penalties.
Alabama, Kentucky,                                        (EIN) if you are requesting a copy of a business
Louisiana, Mississippi,                                   return. Otherwise, enter the first social security           Routine uses of this information include giving it to
Tennessee, Texas, a                                       number (SSN) or your Individual taxpayer                 the Department of Justice for civil and criminal
foreign country, American     Internal Revenue Service    identification number (ITIN) shown on the return. For    litigation, and cities, states, the District of Columbia,
Samoa, Puerto Rico,           RAIVS Team                  example, if you are requesting Form 1040 that            and U.S. commonwealths and possessions for use
Guam, the                     Stop 6716 AUSC              includes Schedule C (Form 1040), enter your SSN.         in administering their tax laws. We may also
Commonwealth of the           Austin, TX 73301                                                                     disclose this information to other countries under a
Northern Mariana Islands,                                 Line 3. Enter your current address. If you use a P.O.    tax treaty, to federal and state agencies to enforce
the U.S. Virgin Islands, or                               box, please include It on this line 3.                   federal nontax criminal laws, or to federal law
A.P.O. or F.P.O. address                                  Line 4. Enter the address shown on the last return       enforcement and intelligence agencies to combat
                                                          filed if different from the address entered on line 3.   terrorism.
Alaska, Arizona,
Arkansas, California,                                     Note: If the addresses on lines 3 and 4 are different       You are not required to provide the information
Colorado, Hawaii, Idaho,                                  and you have not changed your address with the           requested on a form that is subject to the Paperwork
Illinois, Indiana, Iowa,                                  IRS, file Form 8822, Change of Address. For a            Reduction Act unless the form displays a valid OMB
                              Internal Revenue Service    business address, file Form 8822-B, Change of            control number. Books or records relating to a form
Kansas, Michigan,
Minnesota, Montana,           RAIVS Team                  Address or Responsible Party - Business.                 or its Instructions must be retained as long as their
Nebraska, Nevada, New         Stop 37106                                                                           contents may become material In the administration
                                                          Signature and date. Form 4506 must be signed and
Mexico, North Dakota,         Fresno, CA 93888                                                                     of any Internal Revenue law. Generally, tax returns
                                                          dated by the taxpayer listed on line 1a or 2a. The
Oklahoma, Oregon,                                                                                                  and return information are confidential, as required
                                                          IRS must receive Form 4506 within 120 days of the
South Dakota, Utah,                                                                                                by section 6103.
                                                          date signed by the taxpayer or it will be rejected.
Washington, Wisconsin,                                    Ensure that all applicable lines are completed before      The time needed to complete and file Form 4506
Wyoming                                                   signing.                                                 will vary depending on individual circumstances. The




                                                          m
                                                                                                                   estimated average time is: Learning about the law
Connecticut,                                                          You must check rhe box in the                or the form, 10 min.; Preparing the form, 16 min.;
Delaware, District of                                                 si!Jna tur'e area to acknowledge you         and Copying, assembling, and sending the form
Columbia, Florida,                                                                                                 to the IRS, 20 min.
                                                                      have rt1e authority to sign and request
Georgia, Maine,
                                                                      rile Information. The form wl//f!OI be         If you have comments concerning the accuracy of
Maryland,                     Internal Revenue Service    processed and returned to you if the box is              these time estimates or suggestions for making
Massachusetts,                RAIVS Team                                                                           Form 4506 simpler, we would be happy to hear from
Missouri, New                                             unchecked.
                              Stop 6705 P-6                                                                        you . You can write to:
Hampshire, New Jersey,        Kansas City, MO               lndlviduals. Copies of jointly filed tax returns may
New York, North                                                                                                      Internal Revenue Service
                              64999                       be furnished to either spouse. Only one signature is
Carolina, Ohio,                                                                                                      Tax Forms and Publications Division
                                                          required. Sign Form 4506 exactly as your name
Pennsylvania, Rhode                                                                                                  1111 Constitution Ave. NW, IR-6526
                                                          appeared on the original return. If you changed your
Island, South Carolina,                                                                                              Washington, DC 20224.
                                                          name, also sign your current name.
Vermont, Virginia, West
Virginia                                                                                                            Do not send the form to this address. Instead, see
                                                                                                                   Where to file on this page.
